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                              Exhibit 3
       State of California ex. rel. Ven-A-Care of the Florida Keys, Inc. v.
                         Abbott Laboratories, Inc., et al.

            Exhibit to the Declaration of Nicholas N. Paul in Support of
Plaintiffs’ Opposition to Defendants’ Joint Motion for Partial Summary Judgment
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                   UNITED STATES DISTRICT COURT

                FOR THE DISTRICT OF MASSACHUSETTS

    - - - - - - - - - - - - - - -

    IN RE:    PHARMACEUTICAL       )   MDL NO. 1456

    INDUSTRY AVERAGE WHOLESALE     )   CIVIL ACTION

    PRICE LITIGATION               )   01-CV-12257-PBS

    THIS DOCUMENT RELATES TO       )

    U.S. ex rel. Ven-a-Care of     )   Judge Patti B. Saris

    the Florida Keys, Inc.         )

         v.                        )   Chief Magistrate

    Abbott Laboratories, Inc.,     )   Judge Marianne B.

    No. 06-CV-11337-PBS            )   Bowler

    - - - - - - - - - - - - - - -

              (cross-captions on following pages)



                               Washington, D.C.

                               Thursday, February 27, 2007

                               9:00 a.m.



          Videotaped deposition of DEIRDRE DUZOR

                           Volume II




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  1
      reduce pharmacy reimbursement from the higher
  2
      rate that it was going to revert to.
  3
               Q.     It was a temporary reduction to AWP
  4
      minus 14 percent because the governor wanted to
  5
      reduce Medicaid expenditures for a certain fiscal
  6
      year; is that right?
  7
                      MS. MARTINEZ:         Objection, form.
  8
               A.     Yes.    That's what it appears to be.                         I
  9
      don't, you know, at the present time really
10
      recall this in detail.               So based upon the
11
      document that I'm looking at, yes.
12
               Q.     In order for you to approve this state
13
      plan would Minnesota need to provide you
14
      documentation that AWP minus 11 percent was their
15
      best estimate of the price that providers were
16
      currently and generally paying for drug products
17
      in Minnesota?
18
                      MS. MARTINEZ:         Objection, form.
19
               A.     At the time our interest was
20
      encouraging states to reduce their payment.                               And
21
      so if they were going to be reducing their
22
      payment, as long as that would not result in an

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  1
      access problem we were generally accepting their
  2
      documentation that this was a better payment than
  3
      what would otherwise be paid, more appropriate
  4
      payment.
  5
               Q.     So this would fall under the decision
  6
      memo options that we saw earlier in Abbott
  7
      Exhibits 328 and 487?
  8
                      MS. MARTINEZ:         Objection, form.
  9
               A.     I don't know that it would -- I
10
      wouldn't say it would fall under those.                          That was
11
      guidance or an expansion of the kinds of factors
12
      that we would look at as we were evaluating state
13
      plan amendments.           So it is consistent with it to
14
      the extent that the result of this amendment
15
      would be to lower reimbursement to a more
16
      appropriate level than would otherwise be the
17
      case.
18
               Q.     What if the proposed amendment did not
19
      reduce the reimbursement amount to the prices at
20
      which pharmacies were generally and currently
21
      paying for drugs?
22
               A.     We did not have independent evidence as

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  1
      to what the pharmacies were currently paying for
  2
      drugs.        So, you know, we didn't have that
  3
      information in order to compare to it.                         The only
  4
      thing we had was the Inspector General's report.
  5
               Q.     Which showed that AWP was at this time
  6
      for brand-name drugs AWP minus 20 for brand-name
  7
      drugs and AWP minus roughly 66 percent for
  8
      generics, right?
  9
                      MS. MARTINEZ:         Objection to form.
10
               A.     I thought it was AWP minus 17.
11
      Whatever, it was lower than what the state was
12
      proposing here.           But again, this was lower than
13
      what they would have otherwise been paying.                               So
14
      it was -- they were moving in the right
15
      direction.
16
                             (Exhibit Abbott 490 was marked for
17
      identification.)
18
      BY MR. TORBORG:
19
               Q.     For the record, what I've marked as
20
      Abbott Exhibit 490 bears the Bates numbers HHC
21
      002-0172 through 75.             It is a December 10th 2002
22
      letter from John Coster to Sharon Summers at the

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